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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 WHAM-O HOLDING, LTD. and
 INTERSPORT CORP. d/b/a WHAM-O,

          Plaintiffs,                                             Case No.: 19-cv-00137

 v.                                                               Judge Rebecca R. Pallmeyer

 THE PARTNERSHIPS AND UNINCORPORATED                              Magistrate Judge Jeffrey T. Gilbert
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                 245                                      Worr8999
                 375                                      muxingren
                 386                                     Panda88shop
                 422                                       tankergo
                 320                                      Gredeshop
                 448                              Yun hung daily necessities
                 471                               Greater China sales shop
                 412                                        Singida
                 364                                    luojunliaiyang
                 444                                   yingyingshoping
                 353                                    kimsbikes0909
                  12                                        mxtsky
                 148                                      hotchobby6
                  19                                      taylorswift
                 288                                      circlepiece
                 265                                     anorangeapen
    Case: 1:19-cv-00137 Document #: 47 Filed: 04/12/19 Page 2 of 2 PageID #:5350



                324                                    handsomeoldman
                363                                      lovefeng888
                316                                       funfunstore
                298                               dingdingjiachaoliunvzhuang


DATED: April 12, 2019                                 Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      1033 South Blvd., Suite 200
                                                      Oak Park, Illinois 60302
                                                      Telephone: 708-203-4787
                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on April 12, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
